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                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SECURITIES AND EXCHANGE      )
COMMISSION,                  )
                             )
    Plaintiff,               )                CIVIL ACTION FILE NO.:
                             )                1:21-cv-03413-SDG
v.                           )
                             )
JOHN J. WOODS, LIVINGSTON    )
GROUP ASSET MANAGEMENT       )
COMPANY d/b/a SOUTHPORT      )
CAPITAL, and HORIZON PRIVATE )
EQUITY, III, LLC,            )
                             )
    Defendants.              )


               ANSWER OF DEFENDANT JOHN J. WOODS TO
                  PLAINTIFF’S AMENDED COMPLAINT

      COMES NOW Defendant John J. Woods, by and through his counsel, and

answers Plaintiff’s Amended Complaint as follows:

      1.    Defendant admits that Horizon Private Equity, III, LLC controlled the

registered investment adviser named Livingston Group Asset Management Company

d/b/a Southport Capital, but denies any and all remaining allegations contained in

Paragraph 1 of Plaintiff’s Amended Complaint.

      2.    Defendant denies the allegations contained in Paragraph 2 of Plaintiff’s

Amended Complaint.


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      3.     Defendant lacks knowledge and information sufficient to form a belief

as to whom investors trusted and whether they stood to lose significant portions of

their retirement savings, and therefore denies such allegations, and denies any and all

remaining allegations contained in Paragraph 3 of Plaintiff’s Amended Complaint.

      4.     Defendant admits that Southport is registered with the SEC and that it

had more than $824,000,000 in client assets under management, but denies any and

all remaining allegations contained in Paragraph 4 of Plaintiff’s Amended

Complaint.

      5.     Defendant admits that Horizon currently has no offices or employees

and that he controlled Horizon and its assets, but denies any and all remaining

allegations contained in Paragraph 5 of Plaintiff’s Amended Complaint.

      6.     Defendant denies the allegations contained in Paragraph 6 of Plaintiff’s

Amended Complaint.

      7.     Defendant denies the allegations contained in Paragraph 7 of Plaintiff’s

Amended Complaint.

      8.     Defendant denies the allegations contained in Paragraph 8 of Plaintiff’s

Amended Complaint.

      9.     Defendant denies the allegations contained in Paragraph 9 of Plaintiff’s

Amended Complaint.



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      10.    The allegations in Paragraph 10 appear to state legal conclusions to

which no response is required. To the extent a response is required, Defendant lacks

knowledge and information sufficient to form a belief as to the truth of the

allegations in the paragraph.

      11.    Defendant admits the allegations contained in Paragraph 11 of

Plaintiff’s Amended Complaint.

      12.    Defendant denies the allegations contained in Paragraph 12 of Plaintiff’s

Amended Complaint except to the extent that specific transactions, acts, practices,

and courses of business alleged in this complaint are admitted which involve use of

the mails and the means and instrumentalities of interstate commerce.

      13.    Defendant admits that he resides in this judicial district, defendant

Southport maintains an office located in this judicial district, defendant Horizon’s

principal place of business is located in this judicial district, and certain investors in

Horizon reside in this judicial district, but denies any and all remaining allegations

contained in Paragraph 13 of Plaintiff’s Amended Complaint.

      14.    Defendant denies the allegations contained in Paragraph 14 of Plaintiff’s

Amended Complaint.

      15.    Defendant admits that he is age 56, is a resident of Marietta, Georgia,

and has been in the securities industry since at least 1989. He further admits that he

has passed the Series 7, Series 63 and Series 65 securities licensing examinations, but

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denies any and all remaining allegations contained in Paragraph 15 of Plaintiff’s

Amended Complaint.

      16.    Defendant admits that Livingston Group Asset Management Company,

Inc. d/b/a Southport Capital is a Delaware corporation with its principal place of

business in Chattanooga, Tennessee. Defendant further admits that Southport is an

SEC-registered investment adviser which had reported assets under management of

$824 million and that he was recently the President of Southport and controlled a

majority ownership interest in it, but denies any and all remaining allegations

contained in Paragraph 16 of Plaintiff’s Amended Complaint.

      17.    Defendant admits that Horizon Private Equity, III, LLC is a Georgia

limited liability company with its principal place of business in Atlanta, Georgia and

that John Woods was the company’s registered agent when it was formed. He further

admits that Horizon was not registered with the Commission and that he was at

certain times an authorized signatory on the bank accounts of Horizon into which

investor funds were deposited, and he ultimately controlled the use and disposition of

those funds, but denies any and all remaining allegations contained in Paragraph 17

of Plaintiff’s Amended Complaint.

      18.    Defendant admits the allegations contained in Paragraph 18 of

Plaintiff’s Amended Complaint.



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      19.    Defendant admits that he solicited investments for Horizon in 2008 and

that Horizon continued making interest payments to several investors who first

invested in Horizon in 2008, but denies any and all remaining allegations contained

in Paragraph 19 of Plaintiff’s Amended Complaint.

      20.    Defendant admits that he told certain investors that Horizon would pay a

fixed rate of return and that investors could get their principal back without penalty

subject to a waiting period, but denies the remaining allegations contained in

Paragraph 20 of Plaintiff’s Amended Complaint.

      21.    Defendant did not disclose any interest in or relationship with Horizon

to the institutional investment adviser in which he was employed in 2008, and denies

the remaining allegations contained in Paragraph 21 of Plaintiff’s Amended

Complaint.

      22.    Defendant denies the allegations contained in Paragraph 22 of Plaintiff’s

Amended Complaint.

      23.    Defendant denies the allegations contained in Paragraph 23 of Plaintiff’s

Amended Complaint.

      24.    Defendant admits that he has a cousin who left an institutional

investment adviser and went to work for Southport, and lacks knowledge and

information sufficient to form a belief as to what his cousin said to any investors in



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Horizon, and therefore denies such allegations, and further denies any and all

remaining allegations contained in Paragraph 24 of Plaintiff’s Amended Complaint.

      25.    Defendant denies the allegations contained in Paragraph 25 of Plaintiff’s

Amended Complaint.

      26.    Defendant admits that he did not disclose his affiliation with Horizon to

the SEC, and denies any and all remaining allegations contained in Paragraph 26 of

Plaintiff’s Amended Complaint.

      27.    Defendant lacks information and knowledge sufficient to form a belief

as to the truth of the allegations contained in Paragraph 27 of Plaintiff’s Amended

Complaint, and therefore denies such allegations.

      28.    Defendant denies the allegations contained in Paragraph 28 of Plaintiff’s

Amended Complaint.

      29.    Defendant denies the allegations contained in Paragraph 29 of Plaintiff’s

Amended Complaint.

      30.    Defendant admits that he did not tell all investors in Horizon that their

funds would or could be used to make payments to earlier investors, either for the

payment of interest or for the return of principal. Defendant lacks information and

knowledge sufficient to form a belief as to the truth of the remaining allegations

contained in Paragraph 30 of Plaintiff’s Amended Complaint, and therefore denies

such allegations.

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      31.    Defendant denies the allegations contained in Paragraph 31 of Plaintiff’s

Amended Complaint.

      32.    Defendant admits the allegations contained in Paragraph 32 of

Plaintiff’s Amended Complaint.

      33.    Defendant admits that Woods and Southport’s investment advisers

cultivated relationships of trust with Southport’s clients. Defendant lacks

information and knowledge sufficient to form a belief as to the truth of the remaining

allegations contained in Paragraph 33 of Plaintiff’s Amended Complaint, and

therefore denies such allegations.

      34.    Defendant denies that Southport’s advisers often convinced their clients

to invest in Southport. Defendant lacks information and knowledge sufficient to

form a belief as to the truth of the remaining allegations contained in Paragraph 34 of

Plaintiff’s Amended Complaint, and therefore denies such allegations.

      35.    Defendant admits that his cousin and another Southport investment

adviser representative received approximately $600,000 and $400,000 from Horizon

during the period January 1, 2019 to May 28, 2021, but denies that all of this

compensation was because they convinced their clients to invest in Horizon.

      36.    Defendant admits the allegations contained in Paragraph 36 of

Plaintiff’s Amended Complaint.



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      37.    Defendant denies the allegations contained in Paragraph 37 of Plaintiff’s

Amended Complaint.

      38.    Defendant admits the allegations contained in Paragraph 38 of

Plaintiff’s Amended Complaint.

      39.    Defendant lacks information and knowledge sufficient to form a belief

as to the truth of the allegations contained in Paragraph 39 of Plaintiff’s Amended

Complaint, and therefore denies such allegations.

      40.    Defendant lacks information and knowledge sufficient to form a belief

as to the truth of the allegations contained in Paragraph 40 of Plaintiff’s Amended

Complaint, and therefore denies such allegations.

      41.    For a limited period of time, Defendant admits the allegations contained

in Paragraph 41 of Plaintiff’s Amended Complaint.

      42.    For a limited period of time, Defendant admits the allegations contained

in Paragraph 42 of Plaintiff’s Amended Complaint.

      43.    For a limited period of time, Defendant admits the allegations contained

in Paragraph 43 of Plaintiff’s Amended Complaint.

      44.    Defendant admits the allegations contained in Paragraph 44 of

Plaintiff’s Amended Complaint.

      45.    Defendant denies the allegations contained in Paragraph 45 of Plaintiff’s

Amended Complaint.

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      46.      Defendant denies that he has been running a Ponzi scheme—including a

massive and ongoing Ponzi scheme—and lacks information and knowledge

sufficient to form a belief as to the truth of the remaining allegations contained in

Paragraph 46 of Plaintiff’s Amended Complaint, and therefore denies such

allegations.

      47.      Defendant admits that Horizon used accounts at Bank of America and

IBERIABANK (the “Horizon Accounts”) to receive money from and send money to

Horizon investors, and denies the remaining allegations contained in Paragraph 47 of

Plaintiff’s Amended Complaint.

      48.      Defendant denies the allegations contained in Paragraph 48 of Plaintiff’s

Amended Complaint.

      49.      Defendant lacks information and knowledge sufficient to form a belief

as to the truth of the allegations contained in Paragraph 49 of Plaintiff’s Amended

Complaint, and therefore denies the same.

      50.      Defendant denies the allegations contained in Paragraph 50 of Plaintiff’s

Amended Complaint.

      51.      Defendant denies the allegations contained in Paragraph 51 of Plaintiff’s

Amended Complaint.

      52.      Defendant denies that Horizon paid $170,000 for a credit card in his

name. Defendant lacks information and knowledge sufficient to form a belief as to

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the truth of the remaining allegations contained in Paragraph 52 of Plaintiff’s

Amended Complaint, and therefore denies such allegations.

      53.    Defendant admits that Horizon’s IBERIABANK account has a balance

of $684,024 on April 1, 2021, and that an investor deposited $250,000 on March 31,

2021 and investors deposited $150,000 on March 29, 2021. Defendant denies that

the alleged pattern holds true and lacks information and knowledge sufficient to form

a belief as to the truth of the remaining allegations contained in Paragraph 53 of

Plaintiff’s Amended Complaint, and therefore denies such allegations.

      54.    Defendant lacks information and knowledge sufficient to form a belief

as to the truth of the allegations contained in Paragraph 54 of Plaintiff’s Amended

Complaint, and therefore denies such allegations.

      55.    Defendant denies the allegations contained in Paragraph 55 of Plaintiff’s

Amended Complaint.

      56.    Defendant denies the allegations contained in Paragraph 56 of Plaintiff’s

Amended Complaint.

      57.    Defendant lacks information and knowledge sufficient to form a belief

as to the truth of the allegations contained in Paragraph 57 of Plaintiff’s Amended

Complaint, and therefore denies such allegations.




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      58.    Defendant lacks information and knowledge sufficient to form a belief

as to the truth of the allegations contained in Paragraph 58 of Plaintiff’s Amended

Complaint, and therefore denies such allegations.

      59.    Defendant lacks information and knowledge sufficient to form a belief

as to the truth of the remaining allegations contained in Paragraph 59 of Plaintiff’s

Amended Complaint, and therefore denies such allegations.

      60.    Defendant denies the allegations contained in Paragraph 60 of Plaintiff’s

Amended Complaint.

      61.    Defendant denies the allegations contained in Paragraph 61 of Plaintiff’s

Amended Complaint.

      62.    Defendant denies the allegations contained in Paragraph 62 of Plaintiff’s

Amended Complaint.

      63.    Defendant denies that he denied having any relationship with Southport

or Horizon. Defendant admits that a significant number of Institutional Investment

Adviser’s customers had invested in Horizon at that time. Defendant lacks

information and knowledge sufficient to form a belief as to the truth of the remaining

allegations contained in Paragraph 63 of Plaintiff’s Amended Complaint, and

therefore denies such allegations.

      64.    Defendant lacks information and knowledge sufficient to form a belief

as to the truth of the allegation that Founder does not believe he ever spoke with the

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Institutional Investment Adviser’s compliance team contained in Paragraph 64 of

Plaintiff’s Amended Complaint, and therefore denies the same. Defendant denies the

remaining allegations contained in Paragraph 64 of Plaintiff’s Amended Complaint.

      65.    Defendant admits the allegations contained in Paragraph 65 of

Plaintiff’s Amended Complaint.

      66.    Defendant lacks information and knowledge sufficient to form a belief

as to the truth of the allegations contained in Paragraph 66 of Plaintiff’s Amended

Complaint, and therefore denies such allegations.

      67.    Defendant admits the allegations contained in Paragraph 67 of

Plaintiff’s Amended Complaint.

      68.    Defendant admits the allegations contained in Paragraph 68 of

Plaintiff’s Amended Complaint.

      69.    Defendant admits the allegations contained in Paragraph 69 of

Plaintiff’s Amended Complaint.

      70.    Defendant admits the allegations contained in Paragraph 70 of

Plaintiff’s Amended Complaint.

      71.    Defendant admits the allegations contained in Paragraph 71 of

Plaintiff’s Amended Complaint.

      72.    Defendant admits the allegations contained in Paragraph 72 of

Plaintiff’s Amended Complaint.

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      73.   Defendant admits the allegations contained in Paragraph 73 of

Plaintiff’s Amended Complaint.

      74.   Defendant admits the allegations contained in Paragraph 74 of

Plaintiff’s Amended Complaint.

      75.   Defendant admits the allegations contained in Paragraph 75 of

Plaintiff’s Amended Complaint.

      76.   Defendant denies the allegations contained in Paragraph 76 of Plaintiff’s

Amended Complaint.

      77.   Defendant admits the allegations contained in Paragraph 77 of

Plaintiff’s Amended Complaint.

      78.   Defendant denies the allegations contained in Paragraph 78 of Plaintiff’s

Amended Complaint.

                                     COUNT I

      79.   Defendant incorporates by reference the responses contained in

Paragraphs 1 through 78 of his Answer fully and completely as if set forth herein.

      80.   Defendant denies the allegations contained in Paragraph 80 of Plaintiff’s

Amended Complaint.

      81.   Defendant denies the allegations contained in Paragraph 81 of Plaintiff’s

Amended Complaint.



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      82.   Defendant denies the allegations contained in Paragraph 82 of Plaintiff’s

Amended Complaint.

      83.   Defendant denies the allegations contained in Paragraph 83 of Plaintiff’s

Amended Complaint.

                                     COUNT II

      84.   Defendant incorporates by reference the responses contained in

Paragraphs 1 through 83 of his Answer fully and completely as if set forth herein.

      85.   Defendant denies the allegations contained in Paragraph 85 of Plaintiff’s

Amended Complaint.

      86.   Defendant denies the allegations contained in Paragraph 86 of Plaintiff’s

Amended Complaint.

                                    COUNT III

      87.   Defendant incorporates by reference the responses contained in

Paragraphs 1 through 86 of his Answer fully and completely as if set forth herein.

      88.   Defendant denies the allegations contained in Paragraph 88 of Plaintiff’s

Amended Complaint.

      89.   Defendant denies the allegations contained in Paragraph 89 of Plaintiff’s

Amended Complaint.

      90.   Defendant denies the allegations contained in Paragraph 90 of Plaintiff’s

Amended Complaint.

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                                    COUNT IV

      91.   Defendant incorporates by reference the responses contained in

Paragraphs 1 through 90 of his Answer fully and completely as if set forth herein.

      92.   Defendant denies the allegations contained in Paragraph 92 of Plaintiff’s

Amended Complaint.

      93.   Defendant denies the allegations contained in Paragraph 93 of Plaintiff’s

Amended Complaint.

      94.   Defendant denies the allegations contained in Paragraph 94 of Plaintiff’s

Amended Complaint.

                                     COUNT V

      95.   Defendant incorporates by reference the responses contained in

Paragraphs 1 through 94 of his Answer fully and completely as if set forth herein.

      96.   Defendant denies the allegations contained in Paragraph 96 of Plaintiff’s

Amended Complaint.

      97.   Defendant denies the allegations contained in Paragraph 97 of Plaintiff’s

Amended Complaint.

                                    COUNT VI

      98.   Defendant incorporates by reference the responses contained in

Paragraphs 1 through 97 of his Answer fully and completely as if set forth herein.




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      99.   Defendant denies the allegations contained in Paragraph 99 of Plaintiff’s

Amended Complaint.

      100. Defendant denies the allegations contained in Paragraph 100 of

Plaintiff’s Amended Complaint.

                                    COUNT VII

      101. Defendant incorporates by reference the responses contained in

Paragraphs 1 through 100 of his Answer fully and completely as if set forth herein.

      102. Defendant denies the allegations contained in Paragraph 102 of

Plaintiff’s Amended Complaint.

      103. Defendant denies the allegations contained in Paragraph 103 of

Plaintiff’s Amended Complaint.

      104. Defendant denies the allegations contained in Paragraph 104 of

Plaintiff’s Amended Complaint.

                                   COUNT VIII

      105. Defendant incorporates by reference the responses contained in

Paragraphs 1 through 104 of his Answer fully and completely as if set forth herein.

      106. Defendant denies the allegations contained in Paragraph 106 of

Plaintiff’s Amended Complaint.

      107. Defendant denies the allegations contained in Paragraph 107 of

Plaintiff’s Amended Complaint.

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      108. Defendant denies the allegations contained in Paragraph 108 of

Plaintiff’s Amended Complaint.

                                      COUNT IX


      109. Defendant denies the allegations contained in Paragraph 109 of

Plaintiff’s Amended Complaint.

      110. Defendant denies the allegations contained in Paragraph 110 of

Plaintiff’s Amended Complaint.

      111. Defendant denies the allegations contained in Paragraph 111 of

Plaintiff’s Amended Complaint.

                              PRAYER FOR RELIEF

      Defendant denies that Plaintiff is entitled to any relief.



                            AFFIRMATIVE DEFENSES

                                  FIRST DEFENSE

      Plaintiff’s Amended Complaint fails to state a claim on which relief can be

granted.

                                  SECOND DEFENSE

      Defendant acted in honest and reasonable reliance on the advice and

experience of others, including legal professionals, as to matters within the area of

their expertise and experience.
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                                  THIRD DEFENSE

      Plaintiffs’ claims are barred, in whole or in part, under applicable statutes of

limitations.

                                 FOURTH DEFENSE

      The headings in Plaintiff’s Amended Complaint are not allegations requiring a

response, but to the extent they are treated as allegations, they are denied.

                                  FIFTH DEFENSE

      Defendant denies all allegations in the Plaintiff’s Amended Complaint unless

expressly admitted herein.

                                  SIXTH DEFENSE

      Defendant has submitted this Answer to the Amended Complaint, by and

through his counsel, and has not waived his right to assert his Fifth Amendment

privilege.

                                SEVENTH DEFENSE

      Defendant reserves the right to plead additional affirmative defenses as this

case proceeds into discovery.


                                JURY TRIAL DEMAND

      Defendant hereby demands a trial by jury in this matter.




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This 14th day of February, 2022.


    /s/ Stephen D. Councill             /s/ David M. Chaiken
    Stephen D. Councill                 David M. Chaiken
    Georgia Bar No. 190358              Georgia Bar No. 118618
    COUNCILL, GUNNEMANN &               CHAIKENLAW LTD.
    CHALLY, LLC                         One Atlantic Center
    1201 Peachtree Street, NE           1201 W. Peachtree Street, Suite 2300
    Building 400, Suite 100             Atlanta, Georgia 30309
    Atlanta, Georgia 30361-3507         (404) 795-5005 (Phone)
    Tel: 404-407-5250                   (404) 581-5005 (Facsimile)
    Fax: 404-600-1624                   david@chaiken.law
    scouncill@cgc-law.com


                Counsel for Defendant John J. Woods




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                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SECURITIES AND EXCHANGE      )
COMMISSION,                  )
                             )
    Plaintiff,               )               CIVIL ACTION FILE NO.:
                             )               1:21-cv-03413-SDG
v.                           )
                             )
JOHN J. WOODS, LIVINGSTON    )
GROUP ASSET MANAGEMENT       )
COMPANY d/b/a SOUTHPORT      )
CAPITAL, and HORIZON PRIVATE )
EQUITY, III, LLC,            )
                             )
    Defendants.              )


                     CERTIFICATE OF COMPLIANCE

     Pursuant to Local Rule 7.1(D), the undersigned counsel hereby certifies that the

foregoing ANSWER OF DEFENDANT JOHN J. WOODS TO PLAINTIFF’S

AMENDED COMPLAINT has been prepared in accordance with Local Rule 5.1(C)

using 14-point Times New Roman font.

     This 14th day of February, 2022.

                                     /s/ David M. Chaiken
                                     David M. Chaiken
                                     Georgia Bar No. 118618




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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

SECURITIES AND EXCHANGE      )
COMMISSION,                  )
                             )
    Plaintiff,               )               CIVIL ACTION FILE NO.:
                             )               1:21-cv-03413-SDG
v.                           )
                             )
JOHN J. WOODS, LIVINGSTON    )
GROUP ASSET MANAGEMENT       )
COMPANY d/b/a SOUTHPORT      )
CAPITAL, and HORIZON PRIVATE )
EQUITY, III, LLC,            )
                             )
    Defendants.              )


                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a true and correct copy of the

foregoing document by filing it with the Clerk of Court using the CM/ECF system.

That filing system will automatically send e-mail notification of such filing to the

registered counsel of record.

      This 14th day of February 2022.

                                     /s/ David M. Chaiken
                                     David M. Chaiken
                                     Georgia Bar No. 118618




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